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     Vazquez, Brandon Vera, and Kyle Kingsbury
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     (Additional counsel appear on signature page)
13

14                           IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEVADA
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16   Cung Le, Nathan Quarry, Jon Fitch, Brandon
     Vera, Luis Javier Vazquez, and Kyle Kingsbury,
17   on behalf of themselves and all others similarly
     situated,
18
                                                          Case No.: 2:15-cv-01045-RFB
19                         Plaintiffs,

20          v.                                            PLAINTIFFS’ NOTICE OF
                                                          MANUAL FILING
21   Zuffa, LLC, d/b/a Ultimate Fighting
     Championship and UFC,
22

23                         Defendant.

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                                                                               Case No.: 2:15-cv-01045-RFB-BNW
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 1          Plaintiffs Cung Le, Jon Fitch, Brandon Vera, Luis Javier Vazquez, and Kyle Kingsbury

 2   (“Plaintiffs”) submit this Notice of Manual Filing attached hereto as Exhibit “A”.

 3

 4   Dated: March 1, 2024

 5                                                Respectfully submitted,

 6                                              /s/ Eric L. Cramer
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                                                Michael C. Dell’Angelo (pro hac vice)
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                                                                                Case No.: 2:15-cv-01045-RFB-BNW
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                                             2                      Case No.: 2:15-cv-01045-RFB-BNW
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        Case 2:15-cv-01045-RFB-BNW Document 1008 Filed 03/01/24 Page 4 of 4



 1                                      CERTIFICATE OF SERVICE

 2          I hereby certify that on this 1st day of March, 2024 a true and correct copy of

 3   PLAINTIFFS’ NOTICE OF MANUAL FILING was served via email on all parties or persons

 4   requiring notice.

 5

 6                                                               /s/ Eric L. Cramer
                                                                 Eric L. Cramer
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                                      PLAITNIFFS’ NOTICE OF MANUAL FILING
